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 1    MATTHEW M. MARTINO (pro hac vice)
      matthew.martino@skadden.com
 2    MICHAEL H. MENITOVE (pro hac vice)
      michael.menitove@skadden.com
 3    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
      One Manhattan West
 4    New York, New York 10001
      Telephone: (212) 735-3000
 5    Facsimile: (917) 777-3000
 6    LANCE A. ETCHEVERRY (SBN 199916)
      lance.etcheverry@skadden.com
 7    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
      525 University Avenue
 8    Palo Alto, California 94301
      Telephone: (650) 470-4500
 9    Facsimile: (650) 470-4570
10    Attorneys for Plaintiff
      FLANNERY ASSOCIATES LLC
11

12
                                  UNITED STATES DISTRICT COURT
13
                                  EASTERN DISTRICT OF CALIFORNIA
14

15
                                                     Case No.: 2:23-cv-00927-TLN-AC
16    Flannery Associates LLC,
17                                                   JOINT REPORT FROM 26(f)
                    Plaintiff,
                                                     CONFERENCE
18           v.
19    Barnes Family Ranch Associates, LLC, et al.,
20                  Defendants.
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 1          Pursuant to Federal Rule of Civil Procedure 26(f), Plaintiff Flannery Associates LLC
 2 (“Flannery”) and Defendants Christine Mahoney Limited Partnership, Christine Mahoney Limited

 3 Partnership Management Company, Emigh Land LP, El General Partner, LLC, Christine Mahoney

 4 (individually and as trustee of the Mahoney 2005 Family Trust), Daniel Mahoney (individually and

 5 as trustee of the Mahoney 2005 Family Trust), Ian Anderson (individually and as trustee of the Ian

 6 and Margaret Anderson Family Trust), Margaret Anderson (individually and as trustee of the Ian

 7 and Margaret Anderson Family Trust), Neil Anderson, Maryn Anderson, William Dietrich

 8 (individually and as trustee of the Child’s Trust FBO William C. Dietrich, a subtrust under the

 9 Trust of William C. Dietrich and Ivanna S. Dietrich), Paul Dietrich (individually and as trustee of

10 the Child’s Trust FBO Paul S. Dietrich, a subtrust under the Trust of William C. Dietrich and

11 Ivanna S. Dietrich), John Alsop (individually and as trustee of the John G. Alsop Living Trust),

12 Nancy Roberts (individually and as trustee of the Nancy C. Roberts Living Trust), Janet Zanardi

13 (individually and as trustee of Trust A under the Zanardi Revocable Trust), Ronald Gurule

14 (individually and as trustee of the Ronald Gurule 2013 Family Trust), Ned Anderson (individually

15 and as trustee of the Ned Kirby Anderson Trust), Neil Anderson, Glenn Anderson, Janet Blegen

16 (individually and as trustee of the Janet Elizabeth Blegen Separate Property Trust), Robert

17 Anderson (individually and as trustee of the Robert Todd Anderson Living Trust), Stan Anderson,

18 Lynne Mahre, Sharon Totman, Amber Bauman, Christopher Wycoff, and Richard Anderson

19 (“Defendants” and, collectively with Flannery, “the Parties”) hereby submit the following Joint

20 Report from 26(f) Conference.

21                                          INTRODUCTION
22          The Parties hereby report from their 26(f) conference, which they held by telephone on
23 Tuesday, September 12, 2023, and by videoconference on Tuesday, September 19, 2023.

24                                        RULE 26(F) REPORT
25 I.       Nature and Basis of Claims and Defenses
26          A.     Flannery
27          Flannery is a Delaware LLC that began purchasing rangeland in Solano County, California,

28 in 2018 in furtherance of an initiative to: (i) create a new community that attracts employers,
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 1 creates good paying local jobs, builds homes in walkable neighborhoods, leads in environment

 2 stewardship, and fuels a growing tax base to serve the county at large, including by providing tax

 3 revenue to combat crime and homelessness and improve local schools; (ii) build large-scale

 4 renewable energy projects that deliver clean power so that Solano County can retain and attract

 5 major employers rather than losing them due to high energy prices and unavailable power capacity;

 6 and (iii) create a greenbelt of open space, agriculture, and habitat.

 7          Flannery alleges that Conspirators, a group of wealthy landowners consisting of Defendants
 8 and their co-conspirators (many of whom have entered into settlement agreements with Flannery),

 9 unlawfully conspired to fix prices, suppress competition, and overcharge Flannery for rangeland in

10 Solano County in violation of the Sherman Act, the Cartwright Act, and California’s Unfair

11 Competition Law. Beginning in 2018 and continuing to present, Flannery approached Conspirators

12 about their properties in good faith. However, seeing an opportunity to extract hundreds of

13 millions of dollars in supracompetitive profits, Conspirators agreed to fix the price for their

14 properties at supracompetitive levels and eliminate the free-market competition for the sale of

15 property that would have otherwise existed. In furtherance of their conspiracy, Conspirators

16 refused to sell to Flannery except at supracompetitive prices, repeatedly deferred negotiation under

17 various pretenses, shared nonpublic information about their price negotiations with Flannery, and

18 coordinated with one another to counter Flannery’s offers at similar, supracompetitive levels.

19          Flannery learned of the conspiracy in 2023, through discovery in separate state court
20 litigation that revealed Conspirators’ own text and email messages discussing the conspiracy. For

21 example, Conspirator Richard Hamilton wrote to Kirk Beebe (one of the BLK Defendants (as

22 defined in the complaint) who was voluntarily dismissed on October 18, 2023 pursuant to a

23 settlement with Flannery): “In talking with [Defendant] Ian Anderson, he agrees that the

24 remaining property owners should be in agreement on what we would want to sell our

25 properties. So [Flannery’s attorney] cannot play owners against owners.” (Compl. Ex. A

26 (emphases added).) Mr. Beebe responded: “Agree.” (Id. (emphasis added).) And in a

27 contemporaneous email message, Defendant Christine Mahoney wrote to Mr. Beebe: “I heard you

28 talked with Hamiltons[.] That’s great that we can support each other!” (Id. Ex. B (emphasis
                                                    2
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 1 added).) In addition to this direct evidence, a variety of “plus factors” further raise the inference

 2 that Conspirators acted pursuant to an agreement, including suspicious communications between

 3 Conspirators, a common motive to conspire, actions against Conspirators’ economic self-interests,

 4 and opportunities to collude.

 5          Because of the conspiracy, Flannery has paid at least $170 million in overcharges to
 6 Conspirators, as well as third parties who demanded higher prices for their properties due to the

 7 conspiracy’s effect on the market. Flannery also has suffered damages in the form of lost profits

 8 because of its inability to purchase certain properties from Conspirators and third parties influenced

 9 by the conspiracy’s effects. To remedy the harm caused by the unlawful conspiracy, Flannery

10 seeks treble damages for overcharges paid to Conspirators and third parties, treble damages for lost

11 profits resulting from Flannery’s inability to acquire property as a result of the conspiracy,

12 injunctive relief enjoining Defendants from continuing their price fixing, and Flannery’s costs of

13 bringing suit—including reasonable attorneys’ fees.

14          In their sections below, Defendants improperly attempt to supplement the arguments in the
15 pending motion to dismiss (ECF No. 78), in an apparent end-run around the Court’s rules regarding

16 page limits, and insert baseless attacks on Flannery and its motives. Flannery prefers to limit its

17 portions of this report to addressing the issues called for under Rule 26(f), and it will not respond to

18 each and every single one of Defendants’ improper assertions. However, to address just the most

19 egregious examples: First, Defendants wrongly contend that the Sherman Act only applies to

20 “commodity” products and, therefore, does not apply to conspiracies involving land because land is

21 not a commodity. But unlike certain antitrust statutes that only apply to “commodities”—like

22 Hawaii’s antitrust statute or Section 3 of the Clayton Act, which are the subject of cases cited in

23 Defendants’ motion to dismiss—Section 1 of the Sherman Act applies to “[e]very . . . conspiracy[]

24 in restraint of trade,” including those involving the sale of land. (See ECF No. 80, Opp. to Mot. to

25 Dismiss at 12-14.) Indeed, the Department of Justice’s Antitrust Division regularly secures

26 criminal convictions in connection with conspiracies involving the sale of land. (See ECF No. 1,

27 Compl. ¶ 9.) Second, Defendants make the illogical claim that Flannery’s willingness to pay some

28 premium for property somehow gives Defendants free rein to conspire to fix prices at any premium
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 1 and therefore at supracompetitive levels. Finally, while Defendants now disclaim any interest in

 2 selling their properties, that assertion is flatly inconsistent with the evidence Flannery has seen to

 3 date, as alleged in the complaint. For example, Defendant Ian Anderson communicated

 4 extensively with a real estate broker, told his broker in May 2022 that $12,000 per acre is “fine,”

 5 retained real estate counsel, and then had that real estate counsel deliver a written offer to Flannery

 6 to sell the majority of his land holdings. (See, e.g., id. ¶¶ 27, 204-18.)

 7            B.     Defendants
 8            The Defendants consider the case meritless as a matter of law, and have filed a Motion to
 9 Dismiss the case. The motion is under submission.

10            Solano County is primarily an agricultural county. Many of the defendants are farm
11 families, some of whom have farmed the land for more than a century. It is how they make their

12 livelihood, and it is who they are. The importance of agriculture to them and to Solano County is

13 beyond dispute.

14            In 2017, Flannery began buying up farmland in the County. (Dkt. 1 ¶ 162.) By its own
15 admission, Flannery chose to pay massive premiums to acquire thousands of acres of Solano

16 County farmland. (Id. ¶¶ 12, 162.)1 If a farmer chose not to sell, Flannery would sweeten the

17 offer—in some cases multiple times. (See, e.g., id. ¶¶ 169-174.) Given Flannery’s willingness to

18 pay premiums, many farmers and landowners eventually relented and agreed to sell. (Id. ¶ 165.)

19 To date, Flannery has purchased more than 62,000 acres from more than 500 owners in the County.

20 It reportedly has paid more than $800,000,000 to acquire the land. (Id. ¶ 167.) In a few years

21 Flannery has become the largest private landowner in the County.

22            But some farmers did not want to sell. Unable to lure them with premium payments,
23 Flannery resorted to pressure tactics—what United States Representative John Garamendi has

24 publicly described as “mobster tactics.”2 Many farmers farm land they own, plus land they lease

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     1
26   Plaintiff incorrectly refers to this land as “rangeland." (See Sec. I.A supra.) In fact, it is
   productive cropland subject to dry farming techniques, which are agriculturally valuable given the
27 scarcity of water in California.
     2
28       See CBS Bay Area Silicon Valley billionaires identified as mystery group buying Solano County

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 1 from others. As Flannery acquired more and more land it was able to squeeze the farmers who

 2 wished to continue farming by terminating leases and evicting the holdout farmers from the land.

 3 Another of Flannery’s favored tactics was to play one family against another by misrepresenting

 4 the families’ intentions regarding Flannery’s offers, in hopes that families otherwise unwilling to

 5 sell would feel pressure not to disappoint their friend and neighbor.

 6          In some instances, Flannery resorted to litigation. For example, in Gassy Lassy L.P. v.
 7 Barnes Family Ranch Corp., et al, Case No. 34-2022-00329651, filed in Sacramento County

 8 Superior Court, Flannery sued the Barnes family for causes of action stemming from the family’s

 9 unwillingness to sell to Flannery.3 There, eight branches of descendants owned that land. Seven of

10 the eight wished to continue to farm and the eighth wished to sell. So, Flannery decided to divide-

11 and-conquer, acquiring the one-eighth share and then suing the other seven. Once litigation was

12 filed, the tactics were clear: Flannery would use the expense of litigation to drive the farmers to

13 surrender. The farmers' only offense was their desire not to sell land their families had, in some

14 cases, owned for generations.

15          Flannery used similar strong-arm tactics in its cases against the Hamilton family filed in
16 Solano County Superior Court. See, e.g., Arran LLC et al. v. Richard Hamilton, et al., Case No.

17 FCS059348.4 In that litigation, Flannery acquired a membership interest in the Hamilton’s family

18 land-holding entity and filed suit against the remaining family members. The impetus of the suit

19 was that the Hamiltons had sought to lease some of their holdings for agriculture and sell others for

20 conservation easements, rather than sell to Flannery. In that suit, Flannery’s lawyers recognized

21 that the conservation easements appealed to the Hamiltons because they desired to continue

22 farming the land, as they had for more than fifty years. Nonetheless, Flannery alleged that the

23 Hamiltons should have accepted Flannery’s offer instead, because it was too good to refuse. Not

24 surprisingly, Flannery has reportedly settled its litigation against Solano County families not for

25 land for new city (Sept. 1, 2023) https://www.cbsnews.com/sanfrancisco/news/solano-county-land-
   purchase-mystery-flannery-associates-silicon-valley-billionaires.
26
   3
      Certain of those defendants were also named as defendants in this case. A copy of this complaint
27 is attached hereto as Exhibit A.

28   4
       A copy of this complaint is attached hereto as Exhibit B.
                                                       5
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 1 money damages, but by negotiating deals that allowed Flannery to purchase the land it had

 2 otherwise been unable to acquire.

 3          The current case takes Flannery’s pressure tactics to a new level. Even though land is not a
 4 commodity subject to the antitrust laws, Flannery alleges that the defendants (and others) conspired

 5 to fix prices on their land, and that this has caused Flannery to overpay for land it has acquired. As

 6 Flannery itself proclaims that it was intentionally paying premium prices to amass its huge acreage,

 7 the assertion is pure fiction, and Flannery knows it is. Indeed, its CEO, Jan Sramek, recently told

 8 KGO: "I don't think [speculation is] what happened. I think what happened is we went to a lot of

 9 landowners and we offered them a premium, a significant premium several times over market

10 values. And many of those landowners looked at that and said, this is a great deal and I would like

11 to take it.”5 Flannery alleges it has “smoking gun” evidence of price-fixing, but that is pure

12 hyperbole, meant to intimidate.

13          All of Flannery’s tactics were conducted under a veil of secrecy. None of the information
14 described above by Flannery was known publicly until the New York Times revealed the Flannery

15 motives on August 25, 2023.6 Indeed, none of Plaintiff’s allegations in this statement regarding

16 Flannery’s motivation for purchasing land in Solano County appear anywhere in its Complaint.

17 (Dkt. 1.) And certainly none of it was disclosed to the landowners solicited by Flannery. To the

18 contrary, County officials, the Federal Government, and regular citizens were concerned that this

19 massive land acquisition might be part of efforts by a foreign power such as China to acquire land

20 near Travis AFB, a critical military base.

21          As reported in the press, Flannery is owned by billionaire tech investors who have decided
22 to build a new city in Solano County. The purchases ignore the County’s general plan, which

23 protects agriculture by limiting urban development to city limits. Its gambit revealed, Flannery has

24

25   5
     Stephanie Sierra, EXCLUSIVE: CEO behind massive Solano Co. land grab shares vision for
   new ‘most walkable’ city, Real Estate (Sept. 21, 2023) https://abc7news.com/flannery-associates-
26 ceo-jan-sramek-new-solano-county-city-travis-airforce-base-farmland/13812726.

27   6
       Conor Dougherty and Erin Griffith, The Silicon Valley Elite Who Want to Build a City from
     Scratch, N. Y. Times, Aug. 25, 2023.
28
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 1 begun a multi-front PR campaign in which Flannery declares that this is their effort to solve the

 2 California housing crisis. Meanwhile, Flannery has told its investors that they stand to make

 3 billions from the project.7

 4          Defendants request that this Court grant the motion to dismiss. Massive damage to
 5 farming and farmers in Solano County already has been done. Flannery’s efforts to litigate this

 6 case while the motion to dismiss is pending will only increase that damage, by imposing an undue

 7 financial and other burdens on defendants, none of whom can afford to individually defend an

 8 antitrust case.

 9          Position of “DANZ” Defendants:8
10          The DANZ defendants are four individuals who hold certain farmland in Solano County in
11 trusts. The farmland has been in their respective families for many years with no thought of

12 development. Most of the farmland has been leased to other local farmers for grazing and crops

13 and there are turbine wind farms that operate on the properties.

14          The DANZ defendants were approached by Flannery representatives through unsolicited
15 purchase offers delivered by Federal Express. The DANZ defendants did not respond to the

16 unsolicited offers as they had no interest in selling their properties. Flannery’s only subsequent

17 contact with the DANZ defendants was a phone call with Nancy Roberts. The DANZ defendants

18 did not have any further contact with Flannery as they did not wish to sell their properties. The

19 DANZ defendants did not have any discussions with any of the owners of the neighboring

20 properties regarding sales to Flannery and there is no evidence of any conspiracy theory as created

21

22
   7
     The Silicon Valley Elite Who Want to Build a City from Scratch, at 2 (“The financial gains could
23 be huge, Mr. Moritz said in the 2017 pitch. He estimated the return could be many times the initial
   investment just from the rezoning, and far more if and when they started building. ‘If the plans
24 materialize anywhere close to what is being contemplated, this should be a spectacular investment,’
   Mr. Moritz wrote.”)
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   8
     The “DANZ Defendants” are Paul Dietrich (individually and as trustee of the Child’s Trust FBO
26 Paul S. Dietrich, a subtrust under the Trust of William C. Dietrich and Ivanna S. Dietrich), John
   Alsop (individually and as trustee of the John G. Alsop Living Trust), Nancy Roberts (individually
27 and as trustee of the Nancy C. Roberts Living Trust), Janet Zanardi (individually and as trustee of
   Trust A under the Zanardi Revocable Trust).
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 1 by Flannery. Flannery has no evidence to support its claims in the complaint against the DANZ

 2 defendants.

 3          Position of Defendant William Dietrich:9
 4          William Dietrich is an elderly individual that has never attempted (or desired) to sell any
 5 property to Flannery. He was shocked when he was named as a Defendant in this litigation (which

 6 appears to be an outgrowth of past and potential transactions involving Flannery and others). As

 7 discussed more fully in the pending motion to dismiss, William Dietrich denies any wrongdoing

 8 and urges the Court to dismiss him because he has been unfairly swept up in this lawsuit. In simple

 9 terms, Flannery does not (and cannot) allege specific facts about William Dietrich’s connection to

10 the alleged conspiracy. (See Dkt. No. 78 at p. 28-29 (motion to dismiss) and Dkt. No. 82 at p. 11-

11 13 (reply brief).)

12          Position of Blegen/Anderson Defendants:10
13          The Blegen/Anderson Defendants hold undivided interests in farmland that Flannery seeks
14 to purchase in Solano County. Like other “non-seller” defendants, the Blegen/Anderson

15 Defendants were not interested in selling, but were hounded with solicitations by Flannery and its

16 agents. Given the Blegen/Anderson Defendants’ lack of interest in selling, and Flannery’s

17 aggressive tactics and lack of transparency, the Blegen/Anderson Defendants ultimately stopped

18 responding to Flannery. Because the Blegen/Anderson Defendants did not consider their land for

19 sale and did not wish to negotiate, Flannery resorted to the present action in order to force the sale

20 of their land. As set forth in the pending motion to dismiss, Flannery lacks any viable legal or

21 factual basis for the inclusion of the Blegen/Anderson Defendants in the present action.

22

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24   9
      William Dietrich is named individually and as trustee of the Child’s Trust FBO William C.
     Dietrich, a subtrust under the Trust of William C. Dietrich and Ivanna S. Dietrich.
25
   10
      This group includes Ned Anderson (Individually and as Trustee of the Ned Kirby Anderson
26 Trust), Neil Anderson, Glenn Anderson, Janet Blegen (Individually and as Trustee of the Janet
   Elizabeth Blegen Separate Property Trust), Robert Anderson (Individually and as Trustee of the
27 Robert Todd Anderson Living Trust), Stan Anderson, Lynne Mahre, Sharon Totman, Amber
   Bauman, and Christopher Wycoff.
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 1           Position of the Mahoney Defendants:11
 2           The Mahoney Defendants trace their roots back to 1877 when the Emigh family first settled
 3 in Solano County. The related families have been farming and raising sheep on these lands for

 4 nearly 140 years. Selling property was never the preference of the Mahoney Defendants, who

 5 consider these lands to be their home and family legacy.

 6           The Mahoney Defendants first became involved with Flannery in 2018, when Flannery
 7 made an offer to purchase a smaller piece of property known as the “Emigh 279 Property” (Dkt. 1,

 8 Page 16, Line 23.) The Mahoneys sold that property to Flannery at a market price of $5,700/acre,

 9 far below the price of subsequent land sales in the area.

10           In 2021, Flannery again approached the Mahoney Defendants and offered to buy the
11 “Emigh 45 Property,” a 45-acre parcel, for $560,000 (id., Page 16, Line 25). The Mahoneys had

12 purchased that property from the State of California only a year or so earlier for $650,000. They

13 sold it to Flannery for less than what they paid for it.

14           The Mahoney Defendants became involved with Flannery a third time when Flannery
15 offered to purchase an industrial property in neighboring Rio Vista owned by Emigh Land LP (the

16 “Emigh Industrial Property”) (id., Page 17, Line 1). Flannery entered into a contract with Emigh

17 Land LP for the purchase of the Emigh Industrial Property and began a lengthy due diligence

18 period. After months of due diligence, Flannery representatives contacted the Mahoney

19 Defendants and told them that if the Mahoney Defendants did not sell or swap a large portion of

20 the Mahoney farmland, that Flannery would back out of the industrial purchase. The Mahoneys

21 refused. Flannery continued to use the threat of cancellation of the industrial purchase to pressure

22 the Mahoneys, asserting various land swap proposals over several weeks until a deal became

23 palatable to the Mahoneys that would save the industrial deal. As a result, Flannery and the

24 Mahoneys entered into four land swap transactions, whereby the Mahoneys swapped 1,989 acres of

25

26   11
     As alleged and defined in the Complaint, the “Mahoney Defendants” are Christine Mahoney
   Limited Partnership, Christine Mahoney Limited Partnership Management Company, Emigh Land
27 LP, El General Partner, LLC, Christine Mahoney (individually and as trustee of the Mahoney 2005
   Family Trust), and Daniel Mahoney (individually and as trustee of the Mahoney 2005 Family
28 Trust).
                                                   9
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 1 their land for 1,588 acres of Flannery’s land. Three of the transactions have closed, and one

 2 remains outstanding. These swaps would not have occurred but for Flannery’s aggressive tactics.

 3          Unimaginably, Flannery is now suing the Mahoney Defendants under an antitrust theory
 4 that the Mahoneys illegally drove up the price of these transactions, when in fact the actual

 5 transactions were at or below market price, or were sold as part of a swap (price is plainly

 6 irrelevant in a land swap deal, because the exchange is land for land). The Mahoney Defendants

 7 believe that Flannery’s motive has not changed – its representatives appear to favor any method to

 8 coerce land sales, and now they are using the litigation system.

 9          Position of the Ian Anderson Defendants:12
10          The Ian Anderson Defendants have farmed in Solano County for more than 100 years. Ian
11 Anderson’s family is a fifth-generation farm family and Margaret Anderson’s family is a sixth-

12 generation farm family. Neil Anderson continues the family tradition of farming. Maryn

13 Anderson is a schoolteacher in Solano County.

14          As alleged in the Complaint, in November 2018 Flannery first approached the Ian Anderson
15 defendants about purchasing certain of the parcels they owned. (Dkt. 1 ¶ 203.) The Ian Anderson

16 defendants, however, have no interest in selling their land because they wish to continue farming it.

17 Flannery knows this and has attempted to constrain their ability to farm by cancelling leases the Ian

18 Anderson defendants have held for generations in an attempt to coerce them to sell their land to

19 Flannery.

20          The Ian Anderson defendants categorically deny engaging in an unlawful conspiracy.
21 II.      Discovery Plan
22          A.     Changes to Timing, Form, or Requirement of FRCP 26(a) Disclosures
23          Pursuant to the Parties’ agreement, they exchanged initial disclosures on October 17, 2023.
24          B.     Subjects on Which Discovery May Be Needed
25

26
   12
      This group of defendants comprises Ian Anderson, individually and as trustee of the Ian and
27 Margaret Anderson Family Trust, Margaret Anderson, individually and as trustee of the Ian and
   Margaret Anderson Family Trust, their son Neil Anderson, and his wife Maryn Anderson. (Dkt. 1
28 ¶¶ 55-58.)
                                                  10
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 1          Flannery’s Position. Flannery anticipates seeking discovery on topics including the
 2 conspiracy among Defendants and the prices at which real property would have been sold but for

 3 the conspiracy. Flannery will seek discovery regarding communications between Conspirators,

 4 meetings between Conspirators, communications regarding Flannery, selling or not selling interests

 5 in real property in Solano County, and the valuation of real property in Solano County, among

 6 other topics.

 7          Flannery propounded its first set of requests for production on Defendants on September 7,
 8 2023. Contrary to Defendants’ contentions below that these requests for production were

 9 “premature,” they were expressly authorized under Federal Rule of Civil Procedure 26(d)(2)(A)

10 because they were served more than 21 days after Defendants had been served with the summons

11 and complaint. Pursuant to Federal Rule of Civil Procedure 26(d)(2)(B), those requests for

12 production are considered served as of September 19—when the Parties completed their 26(f)

13 conference. At no point has Flannery stated (as Defendants wrongly contend) that it would re-

14 serve or modify its requests for production. It does not intend to do so, nor is it required to do so

15 under the applicable Federal Rules of Civil Procedure. Flannery also intends to serve subpoenas

16 requesting discovery from third parties likely to possess relevant information.

17          Defendants misrepresent a litany of matters related to the Parties’ discussions concerning
18 discovery. For example, in its email accompanying the requests for production, Flannery offered a

19 compromise in which Defendants would produce documents responsive to the first three requests

20 for production. In exchange, Flannery would agree that Defendants’ deadlines to respond to the

21 remaining requests for production would be stayed until the Court rules on the pending motion to

22 dismiss. Flannery did not, as Defendants erroneously assert, offer a general stay of discovery.

23          Similarly, Defendants misrepresent Flannery’s position as to its requests for production.
24 During the Parties’ first conference on September 12, Defendants represented that they were

25 inclined to accept Flannery’s proposed compromise but raised certain concerns. Defense counsel

26 stated that they did not believe that the request seeking all communications with conspirators

27 should encompass intra-family communications that did not pertain to Flannery or the sale of land.

28 Flannery responded that this request to each Defendant was drafted in a way that was not intended
                                                   11
   ________________________________________________________________________________
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 1 to capture all intra-family communications, through carveouts in the definition of “Conspirator.”

 2 Contrary to Defendants’ contention below, Flannery stated that if it inadvertently drafted any

 3 request to include all intra-family communications, any affected defense group should discuss the

 4 issue with Flannery via a meet-and-confer. Similarly, Defendants wrongly assert that Flannery

 5 agreed to strike the word “Conspirator” from its requests for production or to issue new requests

 6 omitting that word. To the contrary, when counsel for Richard Anderson objected during the

 7 conference to the use of the word “Conspirator” because it supposedly has criminal connotations,

 8 counsel for Flannery explained that its use of that term is merely consistent with the text of Section

 9 1 of the Sherman Act, which applies to “conspiracies” in restraint of trade and renders those who

10 engage in such misconduct “conspirators.”

11          Further, Defendants selectively and inaccurately report the parties’ efforts to reach a
12 compromise as to limited discovery. At the first conference, Defendants’ counsel proposed that

13 Defendants be permitted to jointly serve three document requests as part of the limited discovery

14 compromise. Flannery’s counsel requested to see the three contemplated requests in advance of

15 the next conference, which was scheduled for September 19, so that Flannery would be able to

16 review the requests with its counsel. Defendants’ counsel represented that they would endeavor to

17 deliver proposed requests for production before the end of the week. In actuality, Defendants’

18 counsel then emailed draft requests for production only one hour before the second conference.

19 During the second conference, counsel for Flannery noted that Flannery did not have the

20 opportunity to review the requests in advance of the conference and would need to consult with

21 their client prior to entering into any agreement with Defendants’ counsel.

22          After the conference concluded on September 19, Flannery decided to reject the proposed
23 compromise for two reasons, which Defendants again fail to accurately describe below. First,

24 Flannery determined that the overbreadth of the requests proposed by Defendants contravened the

25 spirit of the contemplated limited initial discovery. Second, counsel for the Ian Anderson

26 Defendants called counsel for Flannery to attack Flannery’s motives and threaten to go after

27 Flannery “with a f***ing vengeance.” As reflected in the full text of the September 29 email that

28 DANZ Defendants selectively quote below, Flannery’s counsel wrote:
                                                12
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 1          In addition, I had a call with Clem Glynn during which he leveled various attacks on
            Flannery, questioned Flannery’s motives, and threatened to come after Flannery “with a
 2          f***ing vengeance.”
 3          In light of the above, our client will not enter into the proposed agreement.
 4          Defendants’ Position.
 5          The Defendants submit that discovery should be stayed pending this Court’s decision on the
 6 motion to dismiss. Before the Rule 26 conference, Flannery sent each defendant a set of 10

 7 requests for production. These were obviously premature. Indeed, Plaintiff’s counsel stated that

 8 the requests were being sent “in the hope of making the discussion more productive” because

 9 defense counsel had already told them that their position was that, to obviate unnecessary expense,

10 all discovery should be stayed pending the Court’s decision on the motion to dismiss. In

11 recognition of this position, Flannery’s pre-conference correspondence also offered a compromise:

12 it would agree to stay discovery generally, provided the Defendants would agree to respond to the

13 first three requests for production categories.

14          The parties met and conferred over two sessions. During the first session, Defendants told
15 Flannery that they were inclined to recommend the proposed compromise to their clients but for a

16 few specific concerns. First, because the requests were extremely broad and sought “all

17 communications,” this category would extend to intra-family communications, or communications

18 with other so-called conspirators (there are many inter-family friendships across the farming

19 community) that did not pertain to Flannery or the potential sale of land. Flannery agreed that the

20 requests should not be interpreted so broadly.

21          Second, one defense counsel made clear that he would not agree to any discovery that
22 defined the defendants as “CONSPIRATORS.” Flannery agreed to revise this definition as well.

23          Third, defense counsel proposed that defendants be permitted to jointly serve three
24 document requests. Flannery’s counsel agreed to this in principle but asked to see the three

25 defense requests prior to the next meet-and-confer session. Defense counsel complied with this

26 request. On September 19, during their second meet and confer session, Flannery’s counsel said it

27 had reviewed the defense requests for production, which appeared “reasonable.” Both sides agreed

28 that they would retain the right to object to any request, as in the normal case.
                                                      13
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 1          On September 29, 2023, Flannery withdrew its proposed compromise regarding discovery
 2 phasing, at which point Defendants deemed the Rule 26(f) conference complete. The Plaintiff

 3 failed, however, to re-serve its requests for production, or to modify the definitions in the manner

 4 discussed above. Because Plaintiff now contends it properly served its requests, on October 18,

 5 2023 Defendants filed a motion for a protective order, which stayed its obligations to respond to

 6 the requests. Pursuant to this motion, Defendants will ask the Court to stay discovery until the

 7 pending Motion to Dismiss is decided. See Stavrianoudakis v. U.S. Dep't of Fish & Wildlife, No.

 8 118CV01505LJOBAM, 2019 WL 9667685 (E.D. Cal. Dec. 20, 2019).

 9          Position of the DANZ defendants: Plaintiff served premature written requests for
10 documents on all Defendants on September 7, 2023 five days prior to the Rule 26(f) conference.

11 Prior to the 26(f) conference Plaintiff offered that Defendants only had to respond to the first three

12 premature requests and that responses to the remainder could wait. During the 26(f) conference the

13 parties discussed limited discovery where Defendants would respond to Plaintiff’s first three

14 requests and Plaintiff would respond to three requests to be drafted by Defendants. The 26(f)

15 conference was continued to September 19, 2023. On September 19th Defendants provided Plaintiff

16 three document requests. Plaintiff’s lawyer stated that the requests seemed reasonable and that he

17 would have to check with his clients. It should be noted that the Defendants requests cover the

18 means and methods of Plaintiff’s damage calculations and claims as well as any evidence Plaintiff

19 has to prove its claims of conspiracy against the individual Defendants. All information to be made

20 in the respective initial disclosures. The parties agreed to put a hold on third party discovery and

21 the entire agreement was to be documented in this Discovery Plan. Plaintiff’s attorneys agreed to

22 draft the Discovery Plan as well as a proposed protective order. The parties agreed that initial

23 disclosures would be made on October 17, 2023.

24          On September 29, 2023 Plaintiff’s attorney emailed Defendants and stated:
25          “We’ve discussed your proposed requests for production internally and with the client.
         Our conclusion is that your requests are inconsistent with the spirit of the proposed
26       agreement regarding limited discovery. Flannery served defendants with ten document
         requests, but agreed to explore limited initial discovery whereby Flannery would only seek
27       responses to three requests and would stay the deadline to respond to the others, and
         defendants would also only serve three requests. But defendants’ three draft requests are
28       significantly broader than Flannery’s three priority requests. Specifically, unlike Flannery’s
                                                   14
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 1           three priority requests, which are narrowly focused on evidence of the alleged price-fixing
             conspiracy, defendants’ requests are far broader and exceed the scope of Flannery’s ten
 2           requests combined.”
 3
             Flannery then declined to enter into the proposed agreement and provided a draft Discovery
 4
     Plan.
 5
             If there is no stay on discovery, the DANZ defendants anticipate responding to Flannery’s
 6
     premature document requests and making their initial disclosures. Further discovery where there is
 7
     no evidence to support Plaintiff’s claims is burdensome and oppressive. The DANZ defendants
 8
     believe that discovery should be stayed until the Court rules on Defendants’ joint motion to
 9
     dismiss.
10
             Position of Defendant William Dietrich: William Dietrich believes discovery should be
11
     stayed pending the motion to dismiss, as is customary in antitrust and alleged price-fixing cases.
12
     Because William Dietrich has raised arguments under Twombly, the stay is particularly appropriate.
13
     Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007) (“Thus, it is one thing to be cautious before
14
     dismissing an antitrust complaint in advance of discovery, but quite another to forget that
15
     proceeding to antitrust discovery can be expensive.”) (internal citations omitted).
16
             C.     Phasing of Discovery
17
             Flannery’s Position. As explained above, during the 26(f) conference, the Parties discussed
18
     the possibility of a compromise in which the Parties would agree to proceed with limited discovery
19
     during the pendency of certain Defendants’ motion to dismiss (ECF No. 78).13 The Parties were
20
     unable to come to an agreement about such a compromise. Accordingly, Flannery considers
21
     discovery to be open as contemplated by the Federal Rules of Civil Procedure.
22
             Defendants’ Position. After reaching a number of agreements, Plaintiff abruptly reversed its
23
     position and refused any compromise.
24
             D.     Case Schedule
25

26

27
   13
      All defendants participating in the 26(f) conference joined in the motion to dismiss, except for
28 Defendant Richard Anderson—who answered the complaint.
                                                     15
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 1          The Parties discussed the case schedule set forth in the Court’s Initial Pretrial Scheduling
 2 Order (ECF No. 3). While the Parties do not request any modification to the schedule at this time,

 3 they have agreed to meet and confer following the disposition of the motion to dismiss to discuss

 4 whether to request any modification to the schedule.

 5          E.     Electronically Stored Information
 6          The Parties intend to confer in good faith regarding a protocol governing the production of
 7 electronically stored information and to submit a proposed stipulated protocol to the Court

 8 following those discussions.

 9          F.     Privileges and Claims of Protection
10          The Parties anticipate that discovery will require disclosure of confidential information.
11 The Parties intend to confer in good faith regarding a protective order governing confidentiality

12 and will submit a proposed stipulated protocol to the Court following those discussions. The

13 Parties’ proposed order will comport with Local Civil Rule 141 regarding the filing of protected

14 information under seal.

15          At this time, the Parties do not propose any particular agreements or modifications to Rule
16 502 of the Federal Rules of Evidence. The Parties will continue to meet and confer regarding

17 managing privilege and work product issues and will submit any disputes to Magistrate Judge

18 Claire as contemplated by the Local Civil Rules.

19          G.     Changes to Limitations on Discovery
20          The Parties discussed possible changes to limitations on discovery, including Flannery’s
21 belief that an enlargement to the presumptive ten-deposition limit under Federal Rule of Civil

22 Procedure 30 is warranted, given that there are 23 individual named defendants who have not

23 entered into settlement agreements with Flannery and that Flannery also intends to take third-party

24 depositions. Defendants also raised the potential for a limitation on total deposition hours per side,

25 rather than limiting the number of depositions.

26          The Parties agreed to meet and confer regarding limitations on depositions and other forms
27 of discovery following the disposition of the motion to dismiss.

28         Flannery’s Position. Defendants filed a motion for a protective order on October 18, 2023.
                                                   16
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 1 Flannery intends to oppose the motion.

 2          Defendants’ Position. Defendants filed a motion for a protective order on October 18,
 3 2023. Defendants believe all discovery should be stayed pending resolution of their motion to

 4 dismiss.

 5          H.     Other Orders Pursuant to FRCP 16(b)-(c), 26(c)
 6          As noted above, the Parties intend to confer in good faith regarding a protective order
 7 governing confidential information and will submit a stipulated protective order to the Court

 8 following those discussions.

 9 III.     Possibility of Settlement/Prompt Resolution
10          The Parties have discussed the possibility of settlement and prompt resolution of the case,
11 but they did not reach any such agreement during the conference.

12          Position of the DANZ Defendants: The possibility of settlement and prompt resolution of
13 the case was discussed. It was one-sided with no discussion of the lack of evidence to support

14 Plaintiff’s claims.

15 Dated: October 26, 2023                        /s/Michael H. Menitove
                                                 (as authorized on October 26, 2023)
16
                                                  Matthew Martino
17                                                matthew.martino@skadden.com
                                                  Michael H. Menitove
18                                                michael.menitove@skadden.com
                                                  SKADDEN, ARPS, SLATE,
19                                                 MEAGHER & FLOM LLP
                                                  One Manhattan West
20                                                New York, New York 10001
                                                  Telephone: (212) 735-3000
21                                                Facsimile: (917) 777-3000
22                                                Lance A. Etcheverry (SBN 199916)
                                                  lance.etcheverry@skadden.com
23                                                SKADDEN, ARPS, SLATE,
                                                    MEAGHER & FLOM LLP
24                                                525 University Avenue
                                                  Palo Alto, California 94301
25                                                Telephone: (650) 470-4500
                                                  Facsimile: (650) 470-4570
26
                                                  Attorneys for Plaintiff
27                                                Flannery Associates LLC
28                                 [See Signatures below for all defendants and counsel]
                                             17
     ________________________________________________________________________________
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 1 Dated: October 25, 2023                GLYNN, FINLEY, MORTL,
                                          HANLON & FRIEDENBERG, LLP
 2                                        CLEMENT L. GLYNN
                                          ADAM FRIEDENBERG
 3                                        ROBERT C. PHELPS
                                          MORGAN K. LOPEZ
 4                                        One Walnut Creek Center
                                          100 Pringle Avenue, Suite 500
 5                                        Walnut Creek, CA 94596
 6                                        By: /s/ Morgan K. Lopez
                                          (as authorized on October 25, 2023)
 7                                        Attorneys for Defendants Ian Anderson (Individually
                                          and as Trustee of the Ian and Margaret Anderson
 8                                        Family Trust), Margaret Anderson (Individually and
                                          as Trustee of the Ian and Margaret Anderson Family
 9                                        Trust), Neil Anderson, and Maryn Anderson
10
     Dated: October 25, 2023              BUCHALTER
11                                        KEVIN T. COLLINS
                                          PHILLIP CHAN
12                                        ADAM SMITH
                                          NATALIYA SHTEVNINA
13                                        A Professional Corporation
                                          500 Capitol Mall, Suite 1900
14                                        Sacramento, CA 95814
15
                                          By: /s/ Kevin T. Collins
16                                        (as authorized on October 25, 2023)
                                          Attorneys for Defendants
17                                        Ned Anderson (individually and as trustee of the Ned
                                          Kirby Anderson Trust), Neil Anderson, Glenn
18
                                          Anderson, Janet Blegen (individually and as trustee of
19                                        the Janet Elizabeth Blegen Separate Property Trust),
                                          Robert Anderson (individually and as trustee of the
20                                        Robert Todd Anderson Living Trust), Stan Anderson,
                                          Lynne Mahre, Sharon Totman, Amber Bauman and
21                                        Christopher Wycoff
22
     Dated: October 25, 2023              HOGE FENTON JONES & APPEL INC.
23                                        STEVEN J. KAHN
                                          ALEXANDER H. RAMON
24

25                                        By: /s/ Steven J. Kahn
                                          (as authorized on October 25, 2023)
26                                        Attorneys for Defendant Ronald Gurule (individually
                                          and as trustee of the Ronald Gurule 2013 Family
27                                        Trust)
28
                                            18
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 1 Dated: October 25, 2023                DAVIS WRIGHT TREMAINE LLP
 2                                        ALLISON A. DAVIS
                                          SANJAY M. NANGIA
 3                                        50 California Street, 23rd Floor
                                          San Francisco, CA 94111
 4
                                          By: /s/ Sanjay M. Nangia
 5                                        (as authorized on October 25, 2023)
                                          Attorneys for Defendant
 6                                        WILLIAM DIETRICH
                                          (individually and as trustee of the Child’s Trust FBO
 7                                        William C. Dietrich, a subtrust under the Trust of
                                          William C. Dietrich and Ivanna S. Dietrich)
 8

 9 Dated: October 25, 2023                RIMON, P.C.
                                          GABRIEL G. GREGG
10                                        A Professional Corporation
                                          800 Oak Grove Avenue, Suite 250
11                                        Menlo Park, California 94025

12
                                          By: /s/ Gabriel G. Gregg
13                                        (as authorized on October 25, 2023)
                                          Attorneys for the Mahoney Defendants
14

15 Dated: October 25, 2023                ROPERS MAJESKI PC
                                          MICHAEL J. IOANNOU
16                                        DAVID B. DRAPER
                                          KEVIN W. ISAACSON
17                                        333 W. Santa Clara St., Suite 910
                                          San Jose, CA 95113
18

19                                        By: /s/ David B. Draper
                                          (as authorized on October 25, 2023)
20                                        Attorneys for Defendants Paul Dietrich (individually
                                          and as trustee of the Child’s Trust FBO Paul S.
21                                        Dietrich, a subtrust under the Trust of William C.
                                          Dietrich and Ivanna S. Dietrich; John Alsop
22                                        (individually and as trustee of the John G. Alsop
                                          Living Trust), Nancy Roberts (individually and as
23                                        trustee of the Nancy C. Roberts Living Trust), Janet
                                          Zanardi (individually and as trustee of Trust A under
24                                        the Zanardi Revocable Trust)
25

26

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 1 Dated: October 25, 2023                    HOUK & HORNBURG, INC.
                                              WILLIAM N. HANNAH
 2                                            C. MATTHEW GAEBE
 3                                            206 S. Mooney Blvd.
                                              Visalia, CA 93291
 4
                                              By      /s/ William N. Hannah
 5                                            (as authorized October 25, 2023)
                                              Attorneys for Defendant Richard Anderson,
 6                                            (Individually and as Trustee of the REA
                                              Properties Trust
 7

 8

 9

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